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In the United States Court of Federal Claims
                              OFFICE OF SPECIAL MASTERS

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PATRICIA HUHMANN,        *                           No. 13-903V
                         *                           Special Master Christian J. Moran
             Petitioner, *
                         *                           Filed: May 13, 2014
v.                       *
                         *                           Stipulation; influenza (“flu”) vaccine;
SECRETARY OF HEALTH      *                           shoulder injury related to vaccine
AND HUMAN SERVICES,      *                           administration (“SIRVA”).
                         *
             Respondent. *
******************** *

Kathy A. Lee, Cline, Farrell, et al., Indianapolis, IN, for petitioner;
Claudia B. Gangi, United States Dep’t of Justice, Washington, DC, for respondent.

             UNPUBLISHED RULING FINDING ENTITLEMENT1

       On November 13, 2013, Patricia Huhmann filed a petition under the
National Childhood Vaccine Injury Act, 42 U.S.C. §300 a-10 through 34 (2006),
alleging that she suffered pain in her left shoulder secondary to the influenza
(“flu”) vaccine she received in her left arm on November 16, 2010.

       In her Rule 4(c) report, respondent states that that the Division of Vaccine
Injury Compensation, Department of Health and Human Services, has reviewed
the facts of this case and has concluded that the alleged injury, lasting for more
than six months, “is consistent with a shoulder injury related to vaccine
administration (‘SIRVA’),” and thus that “petitioner has satisfied all legal
prerequisites for compensation under the [Vaccine]Act.” Id. at 3-4.


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         The E-Government Act of 2002, Pub. L. No. 107-347, 116 Stat. 2899, 2913 (Dec. 17,
2002), requires that the Court post this decision on its website. Pursuant to Vaccine Rule 18(b),
the parties have 14 days to file a motion proposing redaction of medical information or other
information described in 42 U.S.C. § 300aa-12(d)(4). Any redactions ordered by the special
master will appear in the document posted on the website.
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      Special masters may determine whether a petitioner is entitled to
compensation based upon the record. A hearing is not required. 42 U.S.C. §
300aa-13; Vaccine Rule 8(d). Based upon a review of the record as a whole, the
undersigned finds that petitioner has established that she is entitled to
compensation for her injury.
      Accordingly, Ms. Huhmann is entitled to compensation. A status
conference has been set for Wednesday, July 16, 2014 at 11:00 A.M. Eastern
Time, to discuss the process for quantifying the amount of damages to which Ms.
Huhmann is entitled.

        Any questions may be directed to my law clerk, Mary Holmes, at (202) 357-
6353.

        IT IS SO ORDERED.

                                             s/Christian J. Moran
                                             Christian J. Moran
                                             Special Master




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